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 28 U.S.C. §§ 157 and 1334; (ii) venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and

 1409; (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b); (iv) due and proper notice of

 the Motion was provided to the Notice Parties pursuant to Local Bankruptcy Rule 9013-2(b); (v)

 notice of the Motion and the Final Hearing was sufficient under the circumstances; and (vi) there

 is good cause to waive the 14-day stay imposed by Bankruptcy Rule 6004(h) to the extent it is

 applicable. After due consideration, the Court finds that the relief requested in the Motion is in the

 best interests of the Debtor, its estate, and its creditors and is necessary to prevent immediate and

 irreparable harm to the Debtor and its estate. Therefore, for good cause shown, IT IS HEREBY

 ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein on a final basis.

        2.      The Debtor is AUTHORIZED to and SHALL: (a) maintain its Cash Management

 System, in the same form as the Cash Management System described in the Motion; (b) open bank

 accounts; provided, however, that the Debtor gives notice to the U.S. Trustee and any official

 committees appointed in this chapter 11 case prior to opening a bank account, (c) receive and

 disburse funds held for non-debtor entities into and out of the Bank Accounts as described in the

 Motion; (d) pay any ordinary course Bank Fees incurred in connection with the Bank Accounts,

 irrespective of whether such fees arose prior to the Petition Date, and to otherwise perform its

 obligations under the documents governing the Bank Accounts; and (e) utilize existing Business

 Forms subject to paragraph 7 below.

        3.      The Debtor is AUTHORIZED to continue to use the bank accounts maintained at

 People’s as of the Petition Date under existing account numbers as debtor-in-possession accounts

 without interruption. The Debtor is further AUTHORIZED to continue to use the accounts

 maintained at Janney and Morgan Stanley as of the Petition Date under existing account

 numbers without
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 interruption. If it has not already done so, People’s shall internally designate each of Debtor’s

 accounts as a debtor-in-possession account and is hereby directed to provide the Debtor and the

 United States Trustee proof of same within 5 business days of the entry of this Final Order.

        4.      The Debtor shall maintain accurate records of all transfers within the Cash

 Management System so that all postpetition transfers and transactions shall be adequately and

 promptly documented in, and readily ascertainable from, its books and records, to the same extent

 by the Debtor before the Petition Date. Contemporaneous with the filing of each monthly operating

 report, the Debtor shall provide the Official Committee of Unsecured Creditors (the “Committee”)

 and the U.S. Trustee with: (a) a summary report of all such fund transfers within the Cash

 Management system for the preceding calendar month (the “Cash Management Report”),

 which Cash Management Report shall disclose for each non-debtor entity for whom the

 Debtor provides administrative or other services (including, but not limited to, the Parishes,

 Schools and Other Catholic Entities as these terms are defined in the Motion, collectively “Catholic

 Entities”) (i) the gross amount paid by the Debtor to such Catholic Entities or for such Catholic

 Entities’ benefit, including all wages and benefit payments and transfers to and or for the benefit of

 such Catholic Entities, (ii) the gross amount paid by such Catholic Entities to or for the benefit of

 the Debtor, (iii) the net difference between (i) and (ii) for the month, and (iv) the net difference

 since the Petition Date; and (b) the account statements for the preceding month for each of the

 Bank Accounts and the Non-Debtor Banks Accounts (to the extent available to the Debtor) that are

 listed on Exhibit C to the Motion.

        5.      The Banks are AUTHORIZED and DIRECTED to continue to

 Service and Administer the Bank Accounts as debtor-in-possession accounts without interruption,

 and to receive, process, honor and pay any and all checks, ACH transfers and other instructions for

 payment, drafts drawn on or electronic
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 transfer requests made on, the Bank Accounts after the Petition Date by the holders or makers

 thereof or other persons or parties entitled to issue instructions with respect thereto, as the case

 may be, provided, however, that any check, advice, draft or other notification drawn or issued by

 the Debtor before the Petition Date may be honored by any bank only if directed by the Debtor

 and authorized by the Court. Nothing in this Order shall require any Bank to process, honor and

 pay any checks, make ACH transfers or honor other instructions for payment, drafts drawn on or

 electronic transfer requests made on, the Bank Accounts, whether in the ordinary course of

 business or otherwise, when such action requires the Bank to extend credit to the Debtor.

        6.      All Banks provided with notice of this Order maintaining any of the Bank Accounts

 shall not honor any checks issued against the Bank Accounts prior to the Petition Date, except as

 otherwise authorized by an order of this Court and directed by the Debtor.

        7.      The Debtor shall include the legend “D.I.P.” and the corresponding bankruptcy case

 number on existing checks and business forms either by writing such information by hand,

 appending such information by a stamp, or by similar means. The Debtor shall not be required to

 order new checks or business forms with the legend “D.I.P.” and the corresponding bankruptcy

 case number until existing checks and business forms are depleted; provided, however, that any

 new check stock ordered by the Debtor, and any new business forms ordered upon depletion of

 existing stock, shall contain the designation “Debtor-in-Possession” and the corresponding case

 number.

        8.      The Banks are AUTHORIZED and DIRECTED to accept and honor all

 representations from the Debtor regarding which checks, drafts, wires or ACH transfers should be

 honored or dishonored consistent with any order of this Court, whether such checks, drafts, wires

 or ACH transfers are dated prior to, on, or subsequent to the Petition Date; provided, however,

 that to the extent the Debtor directs
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 the Banks to dishonor any disbursements or the Banks inadvertently dishonor any disbursements,

 the Debtor may issue replacement disbursements consistent with the orders of this Court. The

 Banks shall not be liable to any party on account of: (a) following the Debtor’s instructions or

 representations as to any order of this Court; (b) honoring any prepetition check or item in a good

 faith belief that this Court has authorized such prepetition check or item to be honored; or (c) an

 innocent mistake made despite implementation of reasonable item-handling procedures.

        9.      Any Bank, without further order of this Court, is (a) AUTHORIZED to charge,

 and the Debtor is AUTHORIZED to pay or honor, both prepetition and postpetition service and

 other fees, costs, charges and expenses to which the Banks are entitled under the terms and in

 accordance with their contractual arrangements with the Debtor; and (b) AUTHROIZED, but not

 directed, to charge back returned items to the Bank Accounts in the normal course of business.

        10.     To the extent that any of the Bank Accounts do not comply with section 345(b) of

 the Bankruptcy Code or any other requirements of the U.S. Trustee, the requirements of section

 345(b) are waived.

        11.     Any Banks are further AUTHORIZED to (a) honor the Debtor’s directions with

 respect to the opening and closing of any Bank Account and (b) accept and hold, or invest, the

 Debtor’s funds in accordance with the Debtor’s instructions; provided, in each case, that the

 Debtor’s Banks shall not have any liability to any party for relying on such representations.

        12.     Nothing in the Motion or this Final Order, nor the Debtor’s payment of claims

 pursuant to the Interim Order or this Final Order, shall be deemed or construed as: (a) an admission

 as to the validity of any claim against the Debtor; (b) a waiver of the Debtor’s rights to dispute any

 claim on any grounds; (c) a promise to pay any claim; or (d) a request to assume any executory

 contract or unexpired lease, pursuant to section 365 of the Bankruptcy Code.
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